OORrGrNALCase 1:09-cv-10366-LLS              Document 38 Filed 04/28/11
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      UNITED STATES DISTRICT COURT                                      DOC#:
      SOUTHERN DISTRICT OF NEW YORK
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      WPIX, INC.   I   et al.,
                                                                         09 C    . 10366 (LLS)
                                                     Applicants,

                          -against-                                      OPINION AND ORDER

      BROADCAST MUSIC, INC.

                                                     Respondent.

                                                                    x

           The quest             on Broadcast Music, Inc. 's ("BMI") motion is

      whether the Decree under whi                  it operates requires it to          fer to

      broadcasters      the      II   carve out"     license whi        U.S.    v.   Broadcast



      275 F. 3d 168      (2d Cir. 2001)            ("AEI ")   held BMI must offer to non

      broadcasters.       The "carve out" license is a blanket license

      providing access to BMI's whole repert                      of musi       works for the

      whole period of the license, but with a speci                       pricing mechanism

      which reduces the                 the licensee pays to BMI based on the

      proportion of the licensee's performances of BMI music for which

      he     obtained an alternate license for which he is paying

      composer or publisher               rect

           BMI argues that it                    no obligation to offer broadcasters a

      "carve-out II license, and that

               AEI decision is inapplicable to this case. AEI
           involved applications by non-broadcasters, and      ired
           construction of the BMI Decree's provisions af ecting
           non-broadcasters.              BMI Decree has specific
           provisions affecting broadcasters that clearly preclude
           a f    ng that BMI must provide the form of license that
           the Local    evision Broadcasters are       ng.
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(BMI Feb. 15, 2011 Mem.    ( "BMI br.") 2 0 . )


                               Background


     The background of the dispute is set forth in the AEI Opinion,

275 F.3d at 171-72:

      BMI is one of the largest performing rights
    organizat     in the country.   It grants licenses to
    music users, collects license fees from them, and
    distributes the royalties among its affiliated copyright
    holders   ("Affiliates").  Its Affiliates comprise
    approximately   250[000   songwriters,      composers,   and
    publishers[ and its catalog includes about three       Ilion
    mus     works. Applicants Muzak LLC and AEI Music
    Network, Inc. provide music environments, often referred
    to as "background music services [ I I to various commercial
    clients such as restaurants [ retailers[ department
    stores[ offices, and supermarkets. The services are
    provided either by delivery of discs or tapes to the
    clients, or by satellite transmission.

        In 1941[ the United States brought separate antitrust
     suits aga      BMI and its main competitor[ the American
     Society of Composers [ Authors and Publishers (HASCAP"),
     for unlawfully monopolizing the licensing of performing
     rights. Both suits were settled by consent decree.
     United States v. Broadcast Music, Inc"     1940-43 Trade
     Cas. (CCH) ~ 56[ 096, 381 (E.D. Wisc. 1941) i
     States v. Am. Soc'y of Composers, Authors, and Publ'rs
      ("ASCAP"), 1940 43 Trade Cas. (CCH) ~ 56,104, 402
      (S.D.N.Y. 1941)  amended [ 1950 53 Trade Cas. (CCH) ~
     62,595, 63[750 (S.D.N.Y. 1950) (HASCAP Decree").     In
     1950, the ASCAP consent decree was amended to establish
     a "rate court" mechanism, which enabled the court to set
     fees for 1 icenses when 1 icense applicants and ASCAP
     could not come to agreement.     United States v. ASCAP,
     195053 Trade Cas. (CCH) ~ 62[ 595, 63[ 750 (S.D.N.Y.
     1950)   The government brought the instant suit against
     BMI in 1964, and the parties entered into a consent
     decree two years later.      United States v. Broadcast
     Music, Inc. , 1966 Trade Cas. (CCH) ~ 71, 941[ 83[ 323
      (S.D.N.Y.  1966), amended, No.    64-CV-3787,   1994 WL
     901652[ at *1 (S.D.N.Y. Nov. 18[ 1994) (1996 1 Trade
     Cas. (CCH) ~ 71, 378) ("BMI Decree" or "decree")
       The BMI Decree places a number of specific
     restrictions on BMI. Among other things, the decree
     prohibits BMI from itself publishing, recording or

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      distributing music commercially (Section IV (B) ), from
      refusing to contract with a potential affiliate (Section
      V(A)),  and from discriminating between similarly­
      situated licensees (Section VIII) .

        The decree specifically requires that BMI grant
      certain types of licenses.     Section VIII (B) requires
      that BMI license to any broadcaster "the rights publicly
      to perform its repertory by broadcasting on either a per
      program or per programming period basis, at [BMI's]
      option"   ("per program license"). Section IX (C)
      prohibits BMI from refusing to license to "music users
      other than broadcasters,lI such as Applicants, a license
      "at a price or prices to be fixed by [BMI] with the
      consent of the copyright proprietor for the performance
      of such specific (i.e., per piece) musical compositions,
      the use of which shall be requested by the prospective
      licensee" ("per piece I        ").  In addition, Section
      IV (A)  prohibits   BMI   from   preventing    writers  or
      publishers of a composition from directly licensing
      their work to a music user.

        Traditionally, the BMI's license of choice has been a
      "blanket license," a license that grants the licensee
      access to BMI' s entire repertory in exchange for an
      annual fee.   In Applicants' case, that fee has always
      been based on the number of licensee's locations that
      use BMI-licensed works, i.e., on a "per premise" basis.
      The BMI Decree does not specifically mention the blanket
      licensei however, BMI has historically offered it and
      Applicants have recently held blanket licenses.

(alterations in original.)


                             The AEI Holding


      As the Second Circuit held in AEI, id. at 171:

      We conclude that Applicants' request for a blanket
      license subject to "carve outs" constitutes a request
      not for a new type of license, but for a blanket license
      with a different fee basis, over which the district
      court has rate-setting authority and which BMI must
      offer.
In   pOinting   out   that   the   addition   of   Section   XIV   in   1964

established the rate court and added the new provision that an

applicant for "the right of public performance of any, some or all

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of the compositions in                 [BMI I s]    repertory II must be offered a fee

BMI    deemed reasonable,              with application to this        rate court if

parties could not agree, id. at 173{ the Court of Appeals drew no

distinction between applicants who are broadcasters and others.

It had "no trouble concluding that Section XIV (A) requires BMI{

upon    request for a blanket license{ to quote a                       it deems

reasonable for that license, and that Section XIV (A) empowers the

district court to set a reasonable fee if the parties cannot come

to agreement I"        id.        at    176{       again with no distinction between

broadcasters and other applicants.

       The Court of Appeals viewed the "carve-out II structure not as

an alteration of the legal rights of the parties, but simply as a

mechanism whereby "Applicants would be gaining use of part of the

repertory either by paying BMI a per piece license fee, or by

paying a fee to the copyright holder.                      The only modification

  to the traditional blanket license is in the way the                              is

calculated."                 at        176.    Thus, the Court concluded, again

without distinctions between broadcasters or non-broadcasters (id.

at 177):

         Therefore, we construe Section XIV to require that
       when an applicant may obtain alternative licensing under
       the BMI Decree, and the appl icant requests a blanket
       license with a fee structure that reflects such
       alternative licensing{ BMI must advise the applicant of
       the fee it deems reasonable for such a license.  Failure
       to do so will empower the district court to set a
       reasonable fee.

Since the    11   carve-out II license represents merely a different fee

calculation in a traditional blanket license,



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         · we need not address Appellants' argument that the
    "any, some, or all" language in Section XIV requires BMI
    to quote a fee for, and offer, any type of license an
    applicant might request. We are presented in this
    appeal with requests for two types of licenses:     the
    blanket license, which BMI has stated it will always
    want to of    ,and the per piece license, which is
    explicitly required in Section IX(C). The question of
    whether or not the provision requires BMI to offer some
    other form of license, should one be requested, is not
    necessary to the resolution of the issues on appeal and
    we leave it      another day.

   at 178 n.2.



                           This Application


    Essentially, BMI's argument that it is not required to offer

the "carve out" license to broadcasters is that

    In     ,non-broadcasters claimed to have no ability to
    take advantage of direct licensing    the absence of the
    composition-by-compos ion crediting system that they
    were seeking. But those non-broadcasters had no access
    to the per program license to which only broadcasters
    have    mandatory  access   under  Section   VIII(B).
    Accordingly, unlike the broadcaster Applicants in this
    case, the non-broadcasters in AEI successfully contended
    that they had no effective means to take advantage of
    direct licensing in the absence of the composition-by­
    composition crediting system that they were seeking. Id.
    at 173.

      But here, the BMI Decree expressly affords
    broadcasters a means of obtaining the benefits of direct
    licensing through the use of the per program license.


                               *    *   *

       In       as non-broadcasters, the applicants could
    argue that, because they had the right to license any
    one or more composition, up to the entire BMI repertoire
    wi th per piece licenses, (BMI Decree § IX (C) ), they
    should be allowed to get a license to the entire
    repertoire, and a credit for anyone or more pieces that
    they license directly. Thus, the background music

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     service applicants had available to them the argument
     that because they had the right to license through BMI
     one, two or 100 compositions, they should also be able
     to license the entire BMI repertoire with a credit for
     those one, two or 100 separately-licensed compositions.
     Whether or not such an argument was persuasive, the
     Local Tel    sion Broadcasters can make no such argument
     here.

(BMI br. at 22-23, emphasis in original.)

     BMI also argues that Section VIII(B)            the Decree gives BMI,

rather than a broadcaster,        the right to decide whether to offer

broadcasters any licenses other than the required per program or

programming period licenses.          (Id. 2.)   BMI argues,

     Section VIII (B) gives BMI the sole right to       cide,
     providing that" [iln the event [BMI] offers to license
     broadcasters on bases in addition to a per program or
       r programming period basis," BMI must act in good
       i th   to  ensure   that  there is an appropriate
     relationship     tween the per program fee and the
     alternative fee structure offered.      (BMI Decree §
     VIII (B) (emphasis added).)  BMI is simply not required
     to provide broadcasters the composition-by-composition
     crediting feature they seek.

         (emphasis, brackets and parenthesis BMI's) .          See   so   at
p. 12:

     By including the following language
      [BMIl offers to license broadcasters on bases in
     addition to a per program or per programming period
     basis (emphasis added) -the BMI Decree clearly manifests
     the parties' intention that it was BMI's option to offer
     a license on any other basis than the traditional
     blanket license, per program license or per programming
     period license.

(emphasis, brackets and parenthesis BMI's).


                                  *    *    *

     Whatever merit these arguments might hold if the case involved

requiring the offer of a new form of license,            they do not apply


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here, for that is not the issue.                These applicants are not seeking

a   new form of license.                 specific provisions on which BMI

relies, particular to broadcasters and others, do not affect the

blanket   license      which      has    traditionally        been   offered   to    all

applicants.      That is what these applicants seek.                 In rendering its

decision in              the     Court   of Appeals was fully aware of the

interplay between those provisions. 275 F.3d at 172.                     Its decision

did not rest upon the interrelationship between them.                     Rather, it

decided   that    what     was    sought    was    a   mere    readjustment     to   the

fundamental      blanket    license      and    thus   was    required   to    be made

available without regard to the per piece or per-program options.

Like an argument made under Shenandoah 1 to the AEI Court, 275 F.3d

at 177:

          . whatever relevance [those arguments] might have to
      requests for new types of licenses, it does not compel
      the same outcome here since Applicants have requested a
      blanket license with a revised fee structure.

      Thus, the "carve outll blanket license, bei                    no more than the

tradi tional     and   common     blanket       license   despite its particular

pricing mechanism,         is required by long tradition and by Section

XIV of the Decree to be issued to any applicant, without regard to

whether the applicant is a broadcaster or non-broadcaster.




     1 United States v. ASCAP (Application of Shenandoah Valley
Broadcasting, Inc.), 331 F.2d 117 (2d Cir. 1964)

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                                      Conclusion



      Accordingly, BMI    I   S   February 15, 2011 "Motion For An Order That

The   BMI    Consent   Decree       Does   Not    Require   BMI   To   Provide   To

Broadcasters Another Blanket License With An Adj ustable Credit II

(Dkt No. 23)     is denied.

      So ordered.


DATED:      New York, New York
            April 27, 2011



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                                                        LOUIS L. STANTON
                                                          U. S. D. J.




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